     Case 3:18-cv-00282-MMD-CLB Document 116 Filed 01/11/21 Page 1 of 2



1

2

3                              UNITED STATES DISTRICT COURT

4                                    DISTRICT OF NEVADA

5                                               ***

6     NATHANIEL WILLIAMS,                             Case No. 3:18-cv-00282-MMD-CLB
7                                        Plaintiff,                 ORDER
            v.
8
      WILLIAM GITTERE, et al.,
9
                                     Defendants.
10

11          Plaintiff Nathaniel Williams filed this action under 42 U.S.C. § 1983. (ECF No. 1-

12    1.) After thrice amending, Plaintiff filed his Fourth Amended Complaint against named

13    Defendants Kim Adamson, Renee Baker, John Borrowman, Carlos Calderon, Sonya

14    Carrillo, Charles Daniels, Frank Dreesen, Brian Egerton, Philip Gang, William Gittere,

15    Steve Green, Judith Hebert, Jerry Howell, Kenia Leon, Michael Minev, Ronald Oliver,

16    Rene Pena, Agapito Racoma, William Reubart, Bonnie Swadling, Devlin Thompson,

17    Harold Wickham, Brian Williams, Catherine Yup, “Dustin,” and “D. Huttenschmidt.” (ECF

18    No. 88.) Per the notice filed by Attorney General Aaron Ford and Deputy Attorney

19    General Jeffrey A. Cogan, all named Defendants have joined the action except “Dustin”

20    and “D. Huttenschmidt.” (ECF No. 112.)

21          On August 26, 2020, the Court granted Plaintiff an extension of time to serve

22    Defendants Kenia Leon, Agapito Racoma, “Dustin,” and “D. Huttenschmidt.” (ECF No.

23    108.) Plaintiff had until November 20, 2020 to serve the remaining Defendants. (Id.)

24    Kenia Leon and Agapito Racoma answered Plaintiff’s complaint on September 14,

25    2020. (ECF No. 109.) The Court issued a notice of intent to dismiss under Federal Rule

26    of Civil Procedure 4(m) if the Court had not received proof of service as to “Dustin” by

27    January 1, 2021. (ECF No. 113.) To date, there is no evidence that either “Dustin” has

28    been served, and Plaintiff has not communicated further with the Court.
     Case 3:18-cv-00282-MMD-CLB Document 116 Filed 01/11/21 Page 2 of 2



1           Accordingly, it is ordered that claims against “Dustin” are dismissed without

2     prejudice.

3           DATED THIS 11th Day of January 2021.

4

5

6                                           MIRANDA M. DU
                                            CHIEF UNITED STATES DISTRICT JUDGE
7

8

9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28
